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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

A.H., a minor, by and through her
natural parent and guardian, ROBERT                 NO. 3:18-CV-0485
HUNT,
       Plaintiff,                                   (JUDGE CAPUTO)

              v.
THE WENDY’S COMPANY,
WENDY’S RESTAURANTS, LLC,
WENDY’S INTERNATIONAL, LLC,
QUALITY IS OUR RECIPE, LLC,
QUALITY SERVED FAST, INC., and
MICHAEL LAMBERT,
       Defendants.

                                  MEMORANDUM
      Presently before me is the Motion to Dismiss Amended Complaint Under Rule
12(b)(6) (Doc. 20) filed by Defendants Wendy’s Company, Wendy’s Restaurants,
LLC, Wendy’s International, LLC, and Quality Is Our Recipe, LLC (collectively,
“Wendy’s Defendants”). Plaintiff A.H. commenced this action against Wendy’s
Defendants, a Wendy’s franchisee, and Michael Lambert after she was sexually
harassed by Lambert during the course of her employment. In her Amended
Complaint, Plaintiff asserts claims for, inter alia, hostile work environment in
violation of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e
et seq., and the Pennsylvania Human Relations Act (“PHRA”), 43 P.S. § 951 et seq.
Wendy’s Defendants seek dismissal from this action on the bases that: (1) Plaintiff
does not have viable claims against them under either joint employer or agency
theories of liability; and (2) Plaintiff failed to exhaust her administrative remedies.
Because Plaintiff pleads sufficient facts to support a plausible basis for imposing joint
employer or agency liability on Wendy’s Defendants and Plaintiff properly
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commenced an administrative proceeding naming Wendy’s Defendants as parties
thereto, the motion to dismiss will be denied.
                                   I. Background
      The facts as alleged in the Amended Complaint are as follows:
      Plaintiff A.H. (“Plaintiff”) is a minor individual. (See Doc. 14, ¶ 10). Wendy’s
Restaurants, LLC is a wholly owned subsidiary of the Wendy’s Company. (See id. at
¶ 12). Wendy’s International, LLC is a wholly owned subsidiary of Wendy’s
Restaurants, LLC. (See id. at ¶ 13). Quality Is Our Recipe, LLC is an indirect
subsidiary of Wendy’s International, LLC and is the owner of the Wendy’s® franchise
system in the United States. (See id. at ¶ 14). Quality Served Fast, Inc. (“QSF”) is a
franchisee of Wendy’s Defendants and maintains a franchise located at 885 Viewmont
Drive, Dickson City, Pennsylvania (the “Restaurant”). (See id. at ¶ 17).
      In June 2015, when Plaintiff was 15 years of age, she was hired as a cashier at
the Restaurant. (See id. at ¶ 27). Her supervisor was Defendant Michael Lambert
(“Lambert”). (See id. at ¶ 28). In early 2016, Lambert began making sexual advances
towards Plaintiff. (See id. at ¶ 29). Lambert started by making verbal advances
towards Plaintiff. (See id. at ¶¶ 30-33). In June 2016, Lambert’s conduct turned
physical and he forcibly fondled Plaintiff against her will. (See id. at ¶¶ 34-35).
Lambert’s co-manager questioned Plaintiff about the incident, but he did not report
Lambert to upper management. (See id. at ¶ 36).
      Plaintiff continued to suffer through the hostile work environment for several
months until she reported Lambert’s behavior to her father. (See id. at ¶¶ 38-39).
Plaintiff’s father contacted the police and an investigation was opened into Lambert’s
conduct. (See id. at ¶¶ 41-42). Lambert was permitted to continue working despite
knowledge of the investigation. (See id. at ¶ 44).
      Lambert was criminally charged in connection with his harassment and groping
of Plaintiff. (See id. at ¶ 45). On March 24, 2017, Lambert pled guilty to harassment
and disorderly conduct. (See id. at ¶ 46). At that time, Lambert had previously been
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charged with assault and harassment, and he had also harassed and/or assaulted at least
three other female Corporate Defendant employees. (See id. at ¶¶ 47-49).
        Based on the foregoing, Plaintiff dual filed a Charge of Discrimination with the
Equal Employment Opportunity Commission (“EEOC”) and the Pennsylvania Human
Relations Commission (“PHRC”) on May 5, 2017. (See id. at ¶ 24). The named
Respondents in the administrative action were The Wendy’s Company, Wendy’s
Restaurants, LLC, Wendy’s International, LLC, Quality Is Our Recipe, and QSF. (See
Doc. 22, Ex. “A”). By letter to Plaintiff, the EEOC acknowledged receipt of her
charge of employment discrimination, noting the Respondent as “Quality Served Fact,
Inc. D/B/A Wendy’s.” (Id. at Ex. “B”). On request of Plaintiff, the EEOC issued a
Notice of Right to Sue on November 28, 2017. (See id. at Ex. “C”). The Notice of
Right to Sue also references “Quality Served Fast, Inc. D/B/A Wendy’s.” (Id.).
        Plaintiff then commenced this action on February 27, 2018 against Wendy’s
Defendants, QSF, and Lambert. (See Doc. 1, generally). Plaintiff filed her Amended
Complaint on June 1, 2018. (See Doc. 14, generally). The Amended Complaint
contains the following claims: (1) violation of Title VII: hostile work environment
against Wendy’s Defendants and QSF (Count I); (2) violation of the PHRA: hostile
work environment against Wendy’s Defendants and QSF (Count II); (3) negligent
hiring, supervision, and retention against Wendy’s Defendant and QSF (Count III); (4)
intentional infliction of emotional distress against Lambert (Count IV); and (5) assault
and battery against Lambert (Count V). (See id., generally).
        QSF filed its Answer and Affirmative Defenses to the Amended Complaint on
June 20, 2018. (See Doc. 19, generally). The next day, Wendy’s Defendants moved
to dismiss the Amended Complaint pursuant to Federal Rule of Civil Procedure
12(b)(6). (See Doc. 20, generally).1 The motion to dismiss has now been fully briefed


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         The docket does not reflect the status of service as to Lambert. (See docket,
         generally).

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and is ripe for disposition.
                                  II. Legal Standard
      Federal Rule of Civil Procedure 12(b)(6) provides for the dismissal of a
complaint, in whole or in part, for failure to state a claim upon which relief can be
granted. See Fed. R. Civ. P. 12(b)(6). “Under the ‘notice pleading’ standard
embodied in Rule 8 of the Federal Rules of Civil Procedure, a plaintiff must come
forward with ‘a short and plain statement of the claim showing that the pleader is
entitled to relief.’” Thompson v. Real Estate Mortg. Network, 748 F.3d 142, 147 (3d
Cir. 2014) (quoting Fed. R. Civ. P. 8(a)(2)).
      When resolving a Rule 12(b)(6) motion, “a court must consider no more than
whether the complaint establishes ‘enough facts to raise a reasonable expectation that
discovery will reveal evidence of the necessary elements’ of the cause of action.”
Trzaska v. L’Oreal USA, Inc., 865 F. 3d 155, 162 (3d Cir. 2017) (quoting Connelly v.
Lane Constr. Corp., 809 F.3d 780, 789 (3d Cir. 2016)). In reviewing the sufficiency
of a complaint, a court must take three steps: (1) identify the elements of the claim; (2)
identify conclusions that are not entitled to the assumption of truth; and (3) assume the
veracity of the well-pleaded factual allegations and determine whether they plausibly
give rise to an entitlement to relief. See Connelly, 809 F.3d at 787 (citations omitted).
“To survive a motion to dismiss, a complaint must contain sufficient factual matter,
accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.
Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)).
                                    III. Discussion
      Counts I and II of the Amended Complaint set forth claims for hostile work
environment in violation of Title VII and the PHRA, respectively. (See Doc. 14,
Counts I-II).
      Title VII makes it an “unlawful employment practice for an employer . . . to
discriminate against any individual . . . because of such individual's race, color,
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religion, sex, or national origin.” 42 U.S.C. § 2000e-2(a)(1); see also 42 U.S.C. §
2000e-2(m) (“[e]xcept as otherwise provided in this subchapter, an unlawful
employment practice is established when the complaining party demonstrates that
race, color, religion, sex, or national origin was a motivating factor for any
employment practice, even though other factors also motivated the practice.”). Title
VII defines “employer” - subject to certain exceptions not applicable here - as “a
person engaged in an industry affecting commerce who has fifteen or more employees
for each working day in each of twenty or more calendar weeks in the current or
preceding calendar year, and any agent of such a person.” 42 U.S.C. § 2000e(b).
        Similarly, the PHRA makes it unlawful for “any employer because of the . . . sex
. . . of any individual . . . to refuse to hire or employ or contract with, or to bar or to
discharge from employment such individual or independent contractor, or to otherwise
discriminate against such individual or independent contractor with respect to
compensation, hire, tenure, terms, conditions or privileges of employment or contract,
if the individual or independent contractor is the best able and most competent to
perform the services required.” 43 P.S. § 955(a). In contrast to Title VII, the
definition of the term “employer” in the PHRA contains a numerical threshold of only
four persons. See id. at § 954(b).
        Although Plaintiff was employed by QSF, she argues that her claims against
Wendy’s Defendants are viable under both joint employer and agency theories of
liability.
A.      Joint Employer Theory of Liability.
        According to Plaintiff, Wendy’s Defendants exercised sufficient control over
QSF employees to be liable to Plaintiff under a joint employer theory of liability.
Wendy’s Defendants dispute this claim, contending that Plaintiff fails to plead
sufficient facts that they exercised significant control over her employment.
        A joint employment relationship exists when “one employer while contracting
in good faith with an otherwise independent company, has retained for itself sufficient
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control of the terms and conditions of employment of the employees who are
employed by the other employer.” Nat'l Labor Relations Bd. v. Browning-Ferris Indus.
of Pa., 691 F.2d 1117, 1123 (3d Cir. 1982). The Third Circuit has recognized this
theory of “joint employment” for claims of discrimination under Title VII. See Graves
v. Lowery, 117 F.3d 723, 727 (3d Cir. 1997). A joint employer relationship exists for
the purposes of Title VII when “two entities exercise significant control over the same
employees.” Id. (citing Browning-Ferris, 691 F.2d at 1123). District courts in this
Circuit consider the following factors in determining whether a joint employer
relationship exists:
             (1) [A]uthority to hire and fire employees, promulgate work
             rules and assignments, and set conditions of employment,
             including compensation, benefits, and hours;
             (2) day-to-day supervision of employees, including
             employee discipline; and
             (3) control of employee records, including payroll,
             insurance, taxes, and the like.
Hollinghead v. City of York, 11 F. Supp. 3d 450, 463 (M.D. Pa. 2014).2 No single
factor is dispositive, and a weak showing of one factor may be offset by a strong
showing on the other two factors. See id. The parties’ beliefs and expectations
regarding the relationship between the parties are also relevant. See id.
        The parties each point primarily to a single district court case to support their
position on Wendy’s Defendants’ status as a joint employer. More particularly,
Plaintiff argues that the allegations in the matter sub judice are akin to those found by
the court to state a plausible joint employment claim in Myers v. Garfield & Johnson
Enters., Inc., 679 F. Supp. 2d 598 (E.D. Pa. 2010). In contrast, Wendy’s Defendants
say that the facts pled here are no different than those found to be an insufficient basis
for joint employer liability by the court in Harris v. Midas, No. 17-95, 2017 WL

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         The same factors are used in determining joint employment status under the
         PHRA. See, e.g., Gift v. Travid Sales Assocs., Inc., 881 F. Supp. 2d 685, 690
         (E.D. Pa. 2012)

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3440693, at *6-8 (W.D. Pa. Aug. 10, 2017). I discuss those cases in turn.
      In Myers, the plaintiff, a tax preparer, claimed that the franchisor - Jackson
Hewitt, Inc. - was liable on a joint employer theory for alleged violations of Title VII
and the PHRA by its licensed franchisee. See Myers, 679 F. Supp. 2d at 605. The
district court concluded that the plaintiff pled sufficient facts to support a finding of
joint employment. See id. at 609-611. As to the first factor, the Myers court
explained:
              [T]he Amended Complaint includes allegations suggesting
              that Jackson has the authority to “promulgate work rules”
              and “set the conditions of employment.” Plaintiff alleges
              that she was covered by Jackson Hewitt's sexual harassment
              and other workplace policies and that Jackson Hewitt had the
              authority to require G & J managers to submit to training and
              to obey all applicable laws. The Jackson Hewitt Code of
              Conduct, which plaintiff discussed in the Amended
              Complaint, also requires that franchisees terminate their
              employees in certain circumstances, which further supports
              plaintiff's allegations that Jackson Hewitt exercised
              significant control over hiring and firing decisions. That the
              Standard Franchise Agreement disclaims any responsibility
              on Jackson Hewitt's part to train franchise employees and
              states that G & J has exclusive authority over hiring and
              personnel decisions is a factor weighing against plaintiff's
              “joint employment” claim, but it is not a decisive one,
              especially at the pleadings stage.
Id. at 609-610 (internal citations omitted).
      Regarding the second factor:
              [P]laintiff alleges that Jackson Hewitt participated in the
              daily supervision of G & J employees by reviewing all tax
              returns prior to filing, by assisting employees with problems
              with tax returns and the computer system, by requiring that
              she undergo specific training, and by monitoring the
              completion of such training. As with respect to hiring and
              personnel decisions, that the Standard Franchise Agreement
              disclaims any responsibility on Jackson Hewitt's part to train
              franchise employees does not preclude the possibility that
              plaintiff will ultimately obtain evidence that Jackson Hewitt
              actually assumed such responsibility, as she claims it did.
Id. at 610.
      With respect to the final factor, the court found that Jackson Hewitt was alleged
to have assumed some degree of control over G & J employee records even though

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Jackson Hewitt did not pay plaintiff. See id. The Myers court also found significant
the plaintiff’s belief that she was a Jackson Hewitt employee. See id. The court thus
concluded that while it was “not entirely clear” whether the allegations would
“ultimately be sufficient to show that Jackson Hewitt was plaintiff’s joint employer,
on a motion to dismiss the issue is not whether a plaintiff will ultimately prevail but
whether the claimant is entitled to offer evidence to support the claims.” Id. at 611
(quotation and citation omitted).
      Similar to the plaintiff in Myers, the plaintiff in Harris, a technician at a Midas
store, claimed that the franchisors of the store, the “TBC Defendants”, were her joint
employer and therefore subject to liability for violations of Title VII. See Harris, 2017
WL 3440693, at *6. The Harris court concluded, however, that there were insufficient
facts pled to support a finding of joint employer liability. See id. at *8. Beginning
with the first factor, the court observed the lack of facts pled that “TBC Defendants
had any authority regarding hiring and firing decisions or that she was subject to any
of the TBC Defendants’ workplace policies.” Id. at *7. While the plaintiff did allege
that the TBC Defendants provided training and maintained the right to inspect the
franchise where the plaintiff worked, the court found that the absence of allegations
that “the TBC Defendants had the ability to hire and fire Plaintiff, to control her
compensation, benefits, and hours, or to promulgate work rules and assignments” all
weighed against finding that the first factor supported a joint employment relationship.
Id.
      The second factor likewise did not support finding the TBC Defendants as the
plaintiff’s joint employer because she did not allege that they had control over her
daily work, authority to discipline her, that she ever participated in or was required to
participate in training they provided, or that she ever had any interaction with the TBC
Defendants. See id.
      Lastly, the Harris court found that the plaintiff’s allegations, at best, made a
“weak showing” as to the third factor of the joint employer analysis. This, the court
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explained, was because the complaint was devoid of “allegations that TBC had any
substantial control or even knowledge regarding Plaintiff’s employee records
including, payroll, insurance, or taxes.” Id. Emphasizing that the “crux of a joint
employer claim is that multiple entities exercise significant control over the same
employee” and it appearing that the franchisee-related entities retained almost all
control over the plaintiff’s employment, the court concluded that the plaintiff failed
to plead a plausible basis for joint employer liability. Id. at *8. However, the plaintiff
was given leave to amend her claims against TBC Defendants. See id. at *9 & n.2.
        The plaintiff in Harris timely filed an amended complaint. See Harris v. Midas,
No. 17-95, 2017 WL 5177668, at *1 (W.D. Pa. Nov. 8, 2017).3 And, in contrast to the
original complaint, the Harris court found that the amended complaint set forth
sufficient facts to state a plausible basis for imposing joint employer liability. See id.
        First, the Harris court found that the amended complaint adequately alleged the
first factor because the TBC Defendants “had the authority (and in fact did)
promulgate work rules” at the store the plaintiff worked. See id. at *2. This allegation
was further supported by the terms of the applicable franchise agreement, which
required the franchisee to “at all times comply with all lawful and reasonable policies,
regulations and procedures promulgated or prescribed from time to time by Midas in
connection with Franchisee's shop or business, including but not limited to . . .
supervision and training of personnel.” Id.
        As to the second factor, the court noted that the plaintiff alleged that the TBC
Defendants “exercised - or at least had the authority to exercise - day-to-day control
over employees,” in that they were able to compel employees to attend training. Id.
The TBC Defendants were also authorized to inspect the store to ensure compliance
with their standards and requirements. See id. Based on these allegations, the court
concluded that the plaintiff “made at least a weak showing under the second prong.”


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         The parties do not cite this decision in their submissions.

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Id.
      The final factor was also sufficiently pled. Specifically, the franchise agreement
provided the franchisor with “the right at all reasonable times, to visit Franchisee’s
shop for the purpose of . . . examining and auditing Franchisee’s books and records.”
Id. This broad wording in the franchise agreement reflected, at least for purposes of
a motion to dismiss, that the franchisor “exercised some control over employee
records” at the store. Id. Thus, the Harris court found that, “although a close call,”
the amended complaint contained “sufficient facts to establish a plausible basis for
imposing joint employer liability on the TBC Defendants.” Id. at *3.
      Here, Plaintiff pleads sufficient facts to state a plausible basis for finding
Wendy’s Defendants were Plaintiff’s joint employer, so the motion to dismiss on that
ground will be denied. As to the first factor, Plaintiff alleges that she was required to
sign a conduct policy at the outset of her employment that identified activities
“Wendy’s considers to be a business abuse or contray to acceptable business practice.”
(Doc. 14, ¶ 57(b)). Plaintiff was likewise required to sign several additional policies
identified as Wendy’s rules and regulations. (See id. at ¶ 57(c)). Additionally, the
Unit Franchise Agreement (the “Franchise Agreement”) provides, in pertinent part,
that “Franchisee shall operate the Restaurant in strict conformity with such methods,
standards, and specifications as Franchisor may from time to time prescribe in the
Manual or otherwise in writing.” (Doc. 21, Ex. “B”, ¶ 6.11).4 The franchisee is also


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        I consider the entirety of the Franchise Agreement in evaluating the instant motion
        without converting it into a request for summary judgment because the Franchise
        Agreement is quoted at length in the Amended Complaint. See, e.g., In re
        Burlington Coat Factory Litig., 114 F.3d 1410, 1426 (3d Cir.1997) (Although,
        “[a]s a general matter, a district court ruling on a motion to dismiss may not
        consider matters extraneous to the pleadings . . . a document integral to or
        explicitly relied upon in the complaint may be considered without converting the
        motion to dismiss into one for summary judgment.”). The affidavits attached to
        Wendy’s Defendants’ brief, however, are not considered. See, e.g., Schmidt v.
        Skolas, 770 F.3d 241, 250 (3d Cir. 2014) (“an affidavit from a defendant may not

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required to comply with certain rules and codes set forth by Wendy’s Defendants.
(See id. at ¶¶6.6- 6.7). Thus, while the allegations do not establish that Wendy’s
Defendants had control over hiring and firing decisions, there are facts sufficient at
this stage in the litigation regarding Wendy’s Defendants’ authority to set conditions
of employment and work place rules. See, e.g., Harris, 2017 WL 5177668, at *2.
      The Amended Complaint also contains some facts pertaining to the second
factor, i.e., day-to-day employee supervision. More particularly, Plaintiff alleges that
at the outset of her employment she was required to undergo a series of computerized
training courses authored by Wendy’s Defendants. (See Doc. 14, ¶ 57(a)). Plaintiff
further avers that Wendy’s provides continual in-service training of employees. (See
id. at ¶ 57(e)). And, the Franchise Agreement authorizes the franchisor to conduct
periodic inspections and to provide “as it deems advisable, periodic and continuing
advisory assistance to Franchisee as to the operation, merchandising, and promotion
of the Restaurant.” (Doc. 21, Ex. “B”, ¶¶ 3.8-3.9).
      The third factor considers Wendy’s Defendants control of employee records.
See Myers, 679 F. Supp. 2d at 607. Under the Franchise Agreement, the franchisor is
required to provide the franchisee with reporting forms for use in operation of the
business. (See Doc. 21, Ex. “B”, ¶ 3.7). The franchisor also has the right to examine
“the books, records, and tax returns of Franchise,” (see id. at ¶ 107), which is similar
to a provision construed by the Harris court as being plausibly read to mean that the
franchisor exercised some control over employee records for purposes of a 12(b)(6)
motion. See Harris, 2017 WL 5177668, at *2. This again provides some support for
a finding of joint employment.
      Lastly, Plaintiff also alleges that she signed a policy referring to an employment
relationship with Wendy’s. (See Doc. 14, ¶ 57(d)).
      In sum, while Plaintiff may ultimately be unable to establish joint employment


        be considered in deciding a motion to dismiss.”).

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after discovery, she, like the plaintiffs in both Myers and Harris, has pled enough facts
to state a plausible basis to find that Wendy’s Defendants were her joint employer.
Dismissal of the claims against Wendy’s Defendants is not warranted
B.    Agency Theory of Liability.
      Wendy’s Defendants also contend that the claims against them cannot proceed
on an agency theory of liability. “[A]lthough there are no third Circuit cases directly
on point, ‘courts from other jurisdictions have concluded that an employee may be
considered ‘employed’ by a third party as well as by the nominal employer if the third
party has a right to control the employee’s conduct, either directly or through the third
party’s control over the employer.’” Harris, 2017 WL 5177668, at *3 (quoting Myers,
679 F. Supp. 2d at 611). In Pennsylvania, “‘whether the control retained by the
franchisor is sufficient . . . to establish a master-servant relationship depends in each
case upon the nature and extent of such control as defined in the franchise agreement
or by the actual practice of the parties.’” Id. (quoting Drexel v. Union Prescription
Ctrs., Inc., 582 F.2d 781, 785-86 (3d Cir. 1978)).
      For reasons similar to those set forth above, the Amended Complaint contains
sufficient allegations of Wendy’s Defendants’ control over QSF’s employees to state
a plausible claim on an agency/vicarious liability theory. Specifically, the Franchise
Agreement contains some “nebulous and generally phrased” provisions suggesting
that Wendy’s Defendants “retained a broad discretionary power to impose upon the
franchisee virtually any control, restriction, or regulation [they] deemed appropriate
or warranted.” Harris, 2017 WL 5177668, at *3; (see also Doc. 21, Ex. “B”, ¶¶ 6.11,
6.13, 8.1). Moreover, like in Myers and Harris, Plaintiff alleges that she was required
to submit to Wendy’s Defendants’ training and to sign their employment policies.
(See Doc. 14, ¶¶ 57(b)-(d)).5 Plaintiff’s claims against Wendy’s Defendants based on


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        While the Franchise Agreement specifically states that franchisees are not agents
        of Wendy’s Defendants, (see Doc. 21, Ex. “B”, ¶ 19.1), “such disclaimers are not

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an agency theory of liability will not be dismissed.
C.    Exhaustion.
      Lastly, Wendy’s Defendants insist that the Title VII and PHRA claims should
be dismissed regardless of Plaintiff’s failure to plead sufficient facts under joint
employer or agency theories because she failed to exhaust her administrative remedies.
Dismissal is not warranted on this ground.
      “Before bringing suit under Title VII in federal court, a plaintiff must first file
a charge with the EEOC.” Webb v. City of Phila., 562 F.3d 256, 262 (3d Cir. 2009)
(citing Hicks v. ABT Assocs. Inc., 572 F.2d 960, 963 (3d Cir.1978); Ostapowicz v.
Johnson Bronze Co., 541 F.2d 394, 398 (3d Cir. 1976)).6 “The purpose of this
administrative exhaustion requirement is to put the EEOC on notice of the plaintiff's
claims and afford it ‘the opportunity to settle disputes through conference,
conciliation, and persuasion, avoiding unnecessary action in court.’” Id. (quoting
Antol v. Perry, 82 F.3d 1291, 1296 (3d Cir.1996)).                   While the “‘preliminary
requirements for a Title VII action are to be interpreted in a nontechnical fashion,’ the
aggrieved party ‘is not permitted to bypass the administrative process.’” Id. at 262-63
(quoting Ostapowicz, 541 F.2d at 398).
      Plaintiff, as stated, submitted her discrimination charge to the EEOC on or about
May 5, 2017. (See Doc. 22, Ex. “A”). Wendy’s Defendants were all named as
Respondents therein. (See id.). The EEOC appears, though, to have subsequently
identified Respondent as “Quality Served Fast, Inc. D/B/A Wendy’s.” (Id. at Exs.




        dispositive of the actual existence of an agency relationship when the franchisor
        actually retains significant control over the franchisee’s activities.” Myers, 679 F.
        Supp. 2d at 612.
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        Exhaustion of administrative remedies is also required under the PHRA. See 43
        P.S. §§ 959(a), 962; see also Burgh v. Borough Council of Borough of Montrose,
        251 F.3d 465, 475-76 (3d Cir. 2001).

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“B”-“C”). 7 Thus, Wendy’s Defendants conclude that Plaintiff’s claims against them
were not exhausted because she never received a right to sue letter as to them.
      As Plaintiff properly commenced her administrative action against Wendy’s
Defendants, her claims against them here will not be dismissed based on errors made
by the EEOC. Indeed, the problem identified by Wendy’s Defendants is not a
“deficienc[y] in the charge; [it is a] failure[ ] of the EEOC to carry out its
responsibilities under Title VII.” Edelman v. Lynchburg Coll., 300 F.3d 400, 404 (4th
Cir. 2002) (citing 42 U.S.C. § 2000e-(5)(b) & (e)(1) (requiring EEOC to serve charge
upon employer within ten days of date charge filed with EEOC)). “Once a valid
charge has been filed, a simple failure by the EEOC to fulfill its statutory duties
regarding the charge does not preclude a plaintiff’s Title VII claim.” Id. at 404-05
(citing Walters v. Robert Bosch Corp., 863 F. 2d 89, 92 (4th Cir. 1982)); see also
Jones v. U.P.S., 502 F.3d 1176, 1185 (10th Cir. 2007) (“it is the EEOC's, not the
plaintiff's, duty to provide the charged party with notice . . . a plaintiff should not be
penalized for the EEOC's negligence in handling a charge”); Kacian v. Donahoe, 9 F.
Supp. 3d 546, 551 (W.D. Pa. 2014) (“Although complainants are statutorily required
to exhaust the EEOC's administrative remedies as a prerequisite to the maintenance
of a Title VII action, we have emphasized that a claimant's right to pursue a civil
action is not to be prejudiced by the EEOC's failure to properly process a grievance
after it has been filed.”); McClease v. R.R. Donnelley & Sons Co., 226 F. Supp. 2d

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        Although the discrimination charge and related EEOC documents are not attached
        to the Amended Complaint, they may be considered on a motion to dismiss. See,
        e.g., Kenne v. SEPTA, No. 13-6007, 2014 WL 4632332, at *1 n.2 (E.D. Pa. Sept.
        17, 2014); James v. Tri-Way Metalworkers, Inc., No. 13-1638, 2014 WL
        4640078, at *5 n.4 (M.D. Pa. Sept. 16, 2014); Rogan v. Giant Eagle, Inc., 113 F.
        Supp. 2d 777, 182 (W.D. Pa. 2000) (“we may consider the EEOC charge and
        related EEOC documents, including the letter from the EEOC summarizing its
        investigation, the right to sue letter, and the intake questionnaire, either as
        undisputed documents referenced in the complaint or central to the plaintiff's
        claim, or as information which is a matter of public record, without converting
        this motion to one summary judgment.”).

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695, 704 (E.D. Pa. 2002)(denying motion to dismiss where EEOC failed to serve
defendants with a notice of the charges and observing that “courts have held for
decades that[ ] a Title VII complainant is not charged with the Commission's failure
to perform its statutory duties.”). Plaintiff’s Title VII and PHRA claims will not be
dismissed for failure to exhaust her administrative remedies.
                                  IV. Conclusion
      For the above stated reasons, Wendy’s Defendants’ motion to dismiss will be
denied.
      An appropriate order follows.


August 22, 2018                                 /s/ A. Richard Caputo
Date                                            A. Richard Caputo
                                                United States District Judge




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